                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     AT NASHVILLE

COREY LEA                                               )
                                                        )
         v.                                             )      NO. 3:23-cv-00340
                                                        )      Trauger/Holmes
SECRETARY OF AGRICULTURE ,THOMAS                        )
VILSACK, and THE UNITED STATES                          )
DEPARTMENT OF AGRICULTURE                               )

                                              ORDER
   Because of scrivener’s errors, the Order entered February 9, 2024 (Docket Entry No. 40) is

VACATED and replaced by the instant Order.

        For the reasons set out below, the Court rules on the following motions as follows:

        1) Plaintiff's motions to supplement and/or for further relief (Docket Entry Nos. 14, 30, 32,

and 38) are deemed to be requests to amend his complaint and are CONDITIONALLY

GRANTED as set out herein;

         2) Plaintiff’s emergency motion to stay deadline (Docket Entry No. 31) is DENIED as

moot;

         3) Plaintiff’s multiple motions for preliminary injunctive relief (Docket Entry Nos. 12, 16,

18, 25, and 35) are DENIED without prejudice;

         4) Plaintiff’s motion to compel ADR (Docket Entry No. 37) and renewed motion to compel

mediation (Docket Entry No. 39) are DENIED;

         5) Plaintiff’s motion to compel (Docket Entry No. 10) is DENIED; and,

         6) Defendants’ motion to dismiss (Docket Entry No. 21) is DENIED without prejudice.




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                                          BACKGROUND 1

        Corey Lea (“Plaintiff”) is a Black “rancher and entrepreneur” who resides in Murfreesboro,

Tennessee. In April 2023, he filed this pro se lawsuit against Thomas Vilsack, Secretary of

Agriculture (“Vilsack”), and the United States Department of Agriculture (“USDA”), raising five

claims and seeking various forms of declaratory and injunctive relief based on alleged racial

discrimination by Vilsack and the USDA in administering federal financial assistance and other

programs. See Complaint (Docket Entry No. 1). Plaintiff asserts that he brings his lawsuit “to

challenge a law that distributes benefits and burdens on the basis of race in violation of the Equal

Protection Component of the Due Process Clause of the Fifth Amendment to the Constitution.”

Id. at 3.     Specifically, he complains about the manner in which the USDA has resolved

administrative claims and civil rights complaints brought by Black farmers and about the manner

in which the USDA and Vilsack have administered and implemented Section 1006 of the

American Rescue Plan Act (“ARPA”), Pub. L. No. 117-2, 135 Stat. 4 (2021), and Sections 22006

and 22007(e) of the Inflation Reduction Act (“IRA”), Pub. L. 117-169, 136 Stat. 1818 (2022).

        In response to the complaint, Defendants filed the pending motion to dismiss, raising the

defenses of lack of subject matter jurisdiction due to lack of Article III standing, res judicata due

to the dismissal of prior federal lawsuit brought by Plaintiff, and improper venue, as well as raising

an argument that Plaintiff fails to state a claim for relief.

        Although Plaintiff’s complaint sets out five specific claims, four of the several motions that

Plaintiff has filed since filing his complaint seek to add new claims, new allegations, and new




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            The Court recites this background solely to provide context to resolution of the pending
motions.
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requests for relief. Although the motions are not styled as motions to amend, for all practical

purposes, they seek to amend Plaintiff’s pleading. The bulk of the other motions filed by Plaintiff

primarily seek orders from the Court that either prevent Vislack and the USDA from taking certain

actions under the ARPA and IRA or require them to take certain actions.

                        RESOLUTION OF THE PENDING MOTIONS

       Amendment of complaint (Docket Entry Nos. 14, 30, 32, and 38)

       A case must have clarity as to the allegations and claim that are at issue. However, in this

case, Plaintiff, by repeatedly seeking to revise or to add to or revise his allegations, claims, and

requests for relief, makes it difficult to determine what is at issue in this case and difficult for

Defendants’ to formulate a response. For example, Plaintiff’s most recent motion for further

relief seeks to add no less than 12 distinct legal claims. See Docket Entry No. 38. An amended

pleading generally replaces and supplants a prior pleading. Drake v. City of Detroit, 266 F.App’x

444, 448 (6th Cir. 2008). However, it is not clear whether these 12 claims are intended by Plaintiff

to replace his original claims.

       Additionally, although Plaintiff’s original pleading sets out only requests for declaratory

and injunctive relief, the recent motion seeks 45 million dollars in punitive, compensatory, treble,

and actual damages. Id. Requests for monetary relief from federal defendants implicate an entirely

new set of legal issues that were not within the scope of the original relief requested.

       Further, Plaintiff’s recent motions include an individual, Zach Ducheneaux-FSA Dept. of

Agriculture, as a defendant in the style of the case but that individual is not named as a defendant

in the original pleading and has not been actually named as a defendant at any point in the case.




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         Finally, there is some contradiction between Plaintiff’s original pleading and his recent

motion. Plaintiff’s original pleading includes allegations of violations of the ARPA and IRA.

However, he states in his recent motion that “[i]t is to be noted that most of the claims in the instant

case is for discrimination that occurred after January 1, 2021, and is not subject to the [ARPA or

the IRA].” Id. at 6, ¶ 9. (bold added for emphasis).

       In the end, the interests of justice support requiring Plaintiff to file a single pleading that

clarifies his case. Neither the Court nor Defendants should be required to cross-reference four

different documents in order to determine the claims and allegations that are at issue in this case.

Accordingly, by no later than March 4, 2024, Plaintiff must file a comprehensive, amended

complaint that encompasses the entirety of his allegations and that clearly and distinctly sets

out his claims.

       In making this directive, the Court advises Plaintiff that the Court will not look favorably

on an excessive or bloated amended complaint. For example, the 58-page motion for further relief

filed by Plaintiff is filled with redundant allegations and unnecessarily includes voluminous legal

arguments that need not be included. Rule 8(a)(2) provides, in relevant part, that a pleading that

states a claim for relief must contain "a short and plain statement of the claim showing that the

pleader is entitled to relief [.]" The objective of Rule 8 is to make complaints simpler, rather

than more expansive. Kuot v. Corr. Corp. of Am., 2018 WL 655158 at *1 (M.D.Tenn. Feb. 1,

2018) (Crenshaw, J.). As cogently explained by another court dealing with this issue;

       A complaint should not be "swollen with irrelevant rhetorical flourishes."
       Moreover, the "purpose of the complaint is not to set forth every factual detail
       related to the alleged misconduct. It is to give the defendants notice of the causes
       of action being asserted against them and the alleged misconduct giving rise
       to those claims." The complaint should contain itself to setting forth the relevant
       facts and be free of legal argumentation. Plaintiffs should also avoid drafting
       complaints
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        that are "excessively long and unnecessarily redundant." Parties who fail to
        follow these simple rules "place an unjustified burden on the court and the
        party who must respond to it because they are forced to select the relevant
        material from a mass of verbiage. "

Nwaubani v. Grossman, 2014 WL 12914528 at *3 (D.Mass. Feb. 28, 2014) (internal citations

omitted) (finding that the plaintiff’s 147-page amended complaint did not comply with Rule 8 and

directing the plaintiff to file a pleading that complied with Rule 8). In drafting his comprehensive

amended complaint, Plaintiff should observe the following guidelines that were provided to

another pro se plaintiff who was given the opportunity to amend his complaint in lieu of dismissal:

        The statement should be short because unnecessary prolixity in a pleading places
        an unjustified burden on the court and the party who must respond to it because
        they are forced to select the relevant material from a mass of verbiage. Plaintiff
        should avoid legal argument, conclusory statements, tangential discussions, and the
        provision of unnecessary supporting evidence.

 Kuot, 2018 WL 655158 at *2.

        Defendants’ motion to dismiss (Docket Entry No. 21)

        Because Plaintiff’s new pleading will replace his prior pleading and become the operative

complaint, see Parry v. Mohawk Motors of Mich., Inc., 236 F.3d 299, 306 (6th Cir. 2000),

Defendants’ motion to dismiss is DENIED as moot and without prejudice to filing of a motion to

dismiss in response to the new pleading.

        Plaintiff’s motions for preliminary injunctive relief (Docket Entry Nos. 12, 16, 18, 25,
        and 35) and to compel (Docket Entry No. 10)

        Similarly, Plaintiff’s multiple motions for preliminary injunctive relief and to compel are

DENIED as moot and without prejudice. The Court cannot take up requests for such relief without

first having clarity as to the claims and allegations at issue.




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        Plaintiff’s emergency motion to stay deadline (Docket Entry No. 31)

        Further, Plaintiff’s emergency motion to stay deadline (Docket Entry No. 31) has become

moot because the deadline at issue has passed. The Court also notes that some of Plaintiff’s

motions are themselves contradictory in as much as he requests an order in one motion that

prevents the distribution of funds from the ARPA and IRA, see Docket Entry No. 12, but in another

motion he requests an order requiring that funds be distributed to him under the ARPA and IRA.

See Docket Entry No. 25.

        Plaintiff’s motion to compel ADR (Docket Entry No. 37) and renewed motion to
        compel mediation (Docket Entry No. 39)

        Plaintiff’s motions to compel alternative dispute resolution and to compel mediation are

DENIED as unpersuasive. The parties are free to explore settlement and mediation on their own,

but the Court sees no reason to compel a mediation at this time. Additionally, the mediation

referred to by Plaintiff in his motion to renew is not a court-initiated mediation but one that Plaintiff

must initiate with the FSA on his own.

                                           CONCLUSION

        Based on the foregoing, the Court ORDERS as follows:

        1) Plaintiff's motions to supplement and/or for further relief (Docket Entry Nos. 14, 30, 32,

and 38) are deemed to be requests to amend his complaint and are CONDITIONALLY

GRANTED as set out herein and Plaintiff is directed to, by no later than MARCH 4, 2024, file

a comprehensive, amended complaint that encompasses the entirety of his allegations and

that clearly and distinctly sets out his claims.

        2) Plaintiff’s emergency motion to stay deadline (Docket Entry No. 31) is DENIED as

moot.

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       3) Plaintiff’s multiple motions for preliminary injunctive relief (Docket Entry Nos. 12, 16,

18, 25, and 35) are DENIED without prejudice.

       4) Plaintiff’s motion to compel ADR (Docket Entry No. 37) and renewed motion to compel

mediation (Docket Entry No. 39) are DENIED.

       5) Plaintiff’s motion to compel (Docket Entry No. 10) is DENIED.

       6) Defendants’ motion to dismiss (Docket Entry No. 21) is DENIED without prejudice.

       Any party objecting to this Order may do so by filing a motion for review no later than

fourteen (14) days from the date this Order is served upon the party. The objections/motion for

review must be accompanied by a brief or other pertinent documents to apprise the District Judge

of the basis for the objection. See Rule 72.01(a) of the Local Rules of Court. Responses to the

objections/motion for review must be filed within fourteen (14) days of service of the motion for

review. See Rule 72.01(b) of the Local Rules of Court.

       It is SO ORDERED.




                                                     BARBARA D. HOLMES
                                                     United States Magistrate Judge




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